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                                       ORDERED.
     Dated: June 21, 2022




                       UNITED STATES BANKRUPTY COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION
                              www.flmb.uscourts.gov

In re

Stephen Kanya,                                                Case No. 8:10-bk-03746-CPM
                                                              Chapter 11

         Debtor(s).
___________________________________/

           ORDER PRESCRIBING CONSEQUENCES OF FAILURE
    TO FILE OPERATING REPORTS AND PAY QUARTERLY FEES TIMELY

       The Debtor in Possession1 in this case is required to file monthly operating
reports until the earlier of confirmation of a plan or conversion or dismissal.2 If the
plan is confirmed, the Debtor in Possession must thereafter file quarterly operating
reports until the case is closed (or administratively abated in an individual chapter
1
 All references in this order to “Debtor in Possession” shall apply to a chapter 11 trustee if one is
appointed in this case.
2 11 U.S.C. § 1106(a)(1) (adopting by reference 11 U.S.C. § 704(a)(8)), Fed. R. Bankr. P.
2015(a), and the United States Trustee’s Operating Guidelines and Reporting Requirements for
Debtors In Possession and Chapter 11 Trustees. The United States Trustee’s Guidelines are
promulgated in accordance with 28 U.S.C. § 586(a)(3), 11 U.S.C. § 704(8), and Fed. R. Bankr.
P. 2015(a)(3) and apply in every chapter 11 case filed in this Court. A PDF of the United States
Trustee’s Guidelines may be found on line at this link: www.justice.gov/ust-regions-r21/region-
21-general-information#ch11.
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11 case), converted, or dismissed. These reports are to be filed on or before the
21st day of the month following the time period covered by the report.3 Upon the
reopening of a closed (or administratively abated) case, the reporting requirement
is again applicable while the case is open.

       Operating reports provide a mechanism for the Court, Debtor in Possession,
creditors, the United States Trustee, and other interested parties to monitor the
financial position of a chapter 11 estate during the chapter 11 process. The
operating reports allow the Debtor in Possession and all interested parties to detect
whether the financial condition of the estate is deteriorating and, therefore, whether
the chapter 11 process is a viable alternative for the estate. The responsibility to
file reports—and file them timely—is high on the list of fiduciary obligations
imposed upon a Debtor in Possession.

       In addition, the Debtor in Possession must pay a quarterly fee to the United
States Trustee until the case is closed (or administratively abated in an individual
Chapter 11 case), converted, or dismissed. The quarterly fee is payable on or
before the last day of the calendar month following the calendar quarter for which
the fee is owed.4 As with the reporting requirement, the payment requirement is
again applicable while the case is open.

      The failure timely to comply with the duties to file operating reports and pay
quarterly fees constitutes grounds for the Court to convert this case to a case under
chapter 7 or dismiss the case.5 Consequently, the Court urges the Debtor in
Possession to calendar and timely comply with the deadlines for filing any required
operating report and paying the required quarterly fee.

         It is accordingly

         ORDERED:

      1. If the Debtor in Possession fails timely to (i) file any required monthly or
quarterly operating report or (ii) pay the required quarterly fee, the Court will


3
 United States Trustee’s Guidelines, ¶¶ 8 and 13. See also Fed. R. Bankr. P. 2015(a)(6) for
Small Business Monthly Operating Reports.
4
    28 U.S.C. § 1930(a)(6).
5   See 11 U.S.C. § 1112(b)(4)(F), (H), and (K).
                                                   2
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dismiss this case upon motion by the United States Trustee or sua sponte, without a
hearing.

       2. For good cause shown by motion filed on or before the due date of an
operating report or payment, the Court may enlarge a particular deadline. (Of
course, if this happens, the estate’s lawyer will be entitled to bill the estate and be
paid for this work,6 unless the lawyer directly caused the need for an enlargement.)


The Clerk of the Court shall serve the Debtor. Otherwise, service shall be made by
CM/ECF to CM/ECF users only.




6
 Payment is subject to proper application, notice, hearing, and order approving compensation
under 11 U.S.C. §§ 330 and 331.
                                               3
